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                                      UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                          BROWNSVILLE DIVISION



State of Texas, et al.,

                                                        Plaintiffs,

                                 v.

                                                                      Case No. 1:18-cv-00068
The United States of America, et al.,

                                                      Defendants,


Karla Perez, et al.,


                                  Defendants-Intervenors,


                                and


State of New Jersey,


                                      Defendant-Intervenor.


   MEMORANDUM OF LAW FOR AMICI CURIAE THE STATES OF NEW YORK,
     CALIFORNIA, CONNECTICUT, DELAWARE, HAWAI‘I, ILLINOIS, IOWA,
      MAINE, MARYLAND, MASSACHUSETTS, MINNESOTA, NEW MEXICO,
   NORTH CAROLINA, OREGON, PENNSYLVANIA, RHODE ISLAND, VIRGINIA,
       VERMONT, AND WASHINGTON, AND THE DISTRICT OF COLUMBIA
  IN OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


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                            INTEREST OF THE AMICI STATES

       The amici States of New York, California, Connecticut, Delaware, Hawai‘i, Illinois, Iowa,

Maine, Maryland, Massachusetts, Minnesota, New Mexico, North Carolina, Oregon,

Pennsylvania, Rhode Island, Virginia, Vermont, and Washington, and the District of Columbia,

would suffer serious harms—to their institutions, fiscs, residents, and economies—from an order

preliminarily enjoining the federal policy known as Deferred Action for Childhood Arrivals

(DACA).

       DACA represents an exercise of the Executive’s long-recognized discretion to forbear

enforcement against defined classes of persons whom federal immigration law makes removable

from the United States: a practice commonly referred to as “deferred action.” Specifically, DACA

provides a framework for the Department of Homeland Security (DHS) to receive and process

requests for deferred action from law-abiding individuals who were brought to the United States

as children. Longstanding federal regulations allow deferred-action recipients meeting certain

criteria to seek and obtain work authorization, enabling amici’s agencies, public universities, and

public hospitals to hire DACA grantees. Private businesses and nonprofit organizations within the

amici States have also come to employ and depend upon DACA grantees. In all, nearly 750,000

DACA grantees who formerly lived in the shadows now openly contribute to their communities

and economies.

       As two district courts have now found, ending DACA would injure the amici States as

employers, providers of health services, and proprietors of public universities. It would also cause

the amici States to lose many millions of dollars in tax revenue. See Regents of Univ. of Cal. v.

DHS, 279 F. Supp. 3d 1011, 1046-47 (N.D. Cal. 2018) (four States); Batalla Vidal v. Nielsen,

279 F. Supp. 3d 401, 433-35, 437 (E.D.N.Y. 2018) (sixteen States and the District of Columbia).
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       In contrast, the harms asserted by the plaintiff States are either illusory or result from

factors other than DACA, such as the mere presence of undocumented immigrants or the ancillary

consequences of deferred action under decades-old federal regulations and policies. Indeed, the

federal government began DACA in 2012, yet plaintiffs waited until 2018 to file this suit—a delay

of nearly six years that undermines any claim of immediate, irreparable injury warranting a

preliminary injunction. The nationwide injunction that plaintiffs seek is inappropriate for other

reasons too: for example, that injunction would directly conflict with preliminary injunctions that

two separate district courts have issued in favor of the amici States after rejecting DHS’s claims

that DACA is unlawful. See Regents, 279 F. Supp. 3d at 1048; Batalla Vidal, 279 F. Supp. 3d at

437-38. Those preliminary injunctions are currently being reviewed by federal appellate courts,

which are the appropriate bodies to rectify any legal errors in the Regents and Batalla Vidal

decisions.

       For these reasons and the other reasons stated below, plaintiffs’ request for a preliminary

injunction should be denied.


         STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

       1. Whether plaintiffs’ request for a nationwide preliminary injunction against DACA

should be denied because plaintiffs cannot show a likelihood of success on the merits or a

likelihood of “irreparable harm in the absence of preliminary relief,” or “that the balance of equities

tips in [their] favor, and that an injunction is in the public interest.” See Winter v. Natural Res.

Defense Council, Inc., 555 U.S. 7, 20 (2008).

       2. Whether plaintiffs’ requested preliminary injunction should be denied for the additional

reason that a nationwide injunction against DACA would conflict with at least two existing

injunctions issued by coordinate federal courts.

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F.3d 11 (D.C. Cir. 2015), cert. denied, 136 S. Ct. 900 (2016). Accordingly, a “principal feature of

the removal system is the broad discretion exercised by immigration officials.” Arizona v. United

States, 567 U.S. 387, 396 (2012). For persons here unlawfully, federal officials “must decide

whether it makes sense to pursue removal at all.” Id. In choosing whether to offer discretionary

relief, DHS may be guided by “immediate humanitarian concerns” as well as the need to prioritize

limited enforcement resources. Id. For example, DHS may rationally focus on removing dangerous

criminals, instead of undocumented immigrants who are “trying to support their families” and have

“long ties to the community.” Id.

         To provide a framework for exercising enforcement discretion, the federal government has

since the 1960s established more than twenty channels through which individualized forbearance

determinations may be made for defined classes of potential applicants who are low priorities for

removal. See U.S. Br. 5, 48-60, Texas (U.S.) (AA 38, 44-56) (enumerating and describing

policies). DACA is one such channel. The class for which it provides “case by case review”

consists of persons who were brought to this country as children, have strong roots in their U.S.

communities, and have not engaged in serious criminal conduct. See Mem. from Janet Napolitano,

Secretary: Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the

United States as Children at 1-2 (June 12, 2012) (“DACA Memorandum”) (AA 1-2).

         Some of the Executive’s discretionary forbearance policies reflect specific provisions of

the INA or other statutes, but many others have been grounded in the Executive’s broad statutory

power to set immigration enforcement priorities rather than any more targeted grant of authority. 1




          1
            See 6 U.S.C. § 202(5) (Secretary’s responsibility for “[e]stablishing national immigration enforcement
policies and priorities”); 8 U.S.C. § 1103(a) (Secretary “shall establish such regulations . . . and perform such other
acts as he deems necessary for carrying out his authority under the provisions of this Chapter”).

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The Supreme Court in 1999 expressly approved of the “regular practice” of granting “deferred

action” as a “commendable exercise in administrative discretion, developed without express

statutory authorization.” Reno v. American-Arab Anti-Discrimination Comm., 525 U.S. 471, 483-

84 (1999). 2 And “[e]very modern presidential administration has relied on extra-statutory

discretionary-relief programs to shield certain removable aliens from deportation.” Batalla Vidal,

279 F. Supp. 3d at 422.

         In a practice also dating back to at least the early 1970s, 3 the federal agencies charged with

immigration enforcement have granted recipients of enforcement relief who show economic need

the opportunity to work and to receive Social Security benefits earned through their work. The

ability to grant work authorization was codified in regulations in 1981, see Employment

Authorization, 46 Fed. Reg. 25,079, 25,080 (May 5, 1981), and confirmed by Congress thereafter. 4

In 1986—at the same time as it imposed a general prohibition on hiring undocumented

immigrants—Congress expressly ratified an employer’s ability to hire a person who is “authorized

to be so employed by [the INA] or by the Attorney General.” 8 U.S.C. § 1324a(h)(3) (emphasis

added). As the federal government explained to the Supreme Court, these sources of law reflect

“the commonsense proposition that aliens who may remain in this country, as a matter of the



         See also Batalla Vidal, 279 F. Supp. 3d at 422 (noting there is “no principled reason why the Executive
         2

Branch may grant deferred action to particular immigrants but may not create a program by which individual
immigrants who meet certain prescribed criteria are eligible to request deferred action”).
         3
           See Sam Bernsen, INS Gen. Counsel, Leave to Labor, 52 No. 35 Interpreter Releases 291, 294 (Sep. 1975)
(noting the ordinary practice of authorizing work for, inter alia, aliens with “extended voluntary departure” or “whose
departure or deportation will not be enforced”), quoted in U.S. Br. 51, Texas (U.S.) (AA 47).
         4
           Likewise, regulations dating back to 1979 have allowed deferred-action recipients to participate in Social
Security. 44 Fed. Reg. 10,369, 10,371 (Feb. 20, 1979). And the INA now reflects Congress’s plain intent to vest the
Secretary of DHS with discretion to grant Social Security benefits to aliens who have been granted deferred action.
8 U.S.C. § 1611(b)(2) (bar on granting Social Security benefits “shall not apply . . . to an alien who is lawfully present
in the United States as determined by the [Secretary]” (emphasis added)); see also 8 C.F.R. § 1.3(a)(4)(vi) (defining
“lawfully present” “[f]or the purposes of 8 U.S.C. § 1611(b)(2)” to include specified “classes of aliens permitted to
remain in the United States because DHS has decided for humanitarian or other public policy reasons not to initiate
removal proceedings or enforce departure,” including “[a]liens currently in deferred action status”).

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Executive’s discretion, also should be able to lawfully make ends meet for themselves and their

families.” U.S. Reply Br. 15, Texas (U.S.) (AA 59).

        In granting deferred action, the Executive has never purported to disturb Congress’s

exclusive authority to set the criteria for immigrants to obtain lawful immigration status. Plaintiffs

confuse matters (Pls.’ Br. in Supp. of Prelim. Injunction (“Br.”) 23-24) by equating DHS’s

construction of “lawful presence” with a “lawful status” that would provide a defense to removal.

See, e.g., Chaudhry v. Holder, 705 F.3d 289, 291-92 (7th Cir. 2013). Federal regulations, agency

guidance, and the case law recognize that the Executive treats “lawful presence” and “lawful

status” as separate and distinct legal concepts, and does not equate “lawful presence” with a

defense to removal. 5

        Congress has repeatedly ratified and confirmed the legality of discretionary relief and work

authorization under this longstanding framework. For example, the Reagan and George H. W.

Bush administrations offered extended voluntary departure—which entailed forbearance from

removal and eligibility for work authorization—to approximately 1.5 million relatives of

immigrants newly eligible for lawful status. 6 The Executive implemented this “family fairness”

policy just after Congress had deliberately declined to give the exact same class any statutory

protection. 7 See S. Rep. No. 99-132, at 16 (1985) (AA 23). When Congress later did enact such




        5
          See, e.g., Mem. from Donald Neufeld, Consolidation of Guidance Concerning Unlawful Presence 42 (May
6, 2009) (AA 9) (deferred action “does not make the alien’s status lawful”); U.S. Br. 38, Texas (U.S.) (AA 40);
Chaudhry, 705 F.3d at 291-92 (“It is entirely possible for aliens to be lawfully present (i.e., in a ‘period of stay
authorized by the Attorney General’) even though their lawful status has expired.”).
        6
           See Recent Developments, 67 No. 6 Interpreter Releases 153, 153-54 (Feb. 5, 1990) (AA 329-330);
Immigration Act of 1989: Hearings Before the Subcomm. on Immigration, Refugees, and International Law of the
House Comm. on the Judiciary, 101st Cong., 2d Sess. Pt. 2, at 49, 56 (1990) (AA 26, 29) (1.5 million persons were
eligible).
        7
          As the United States has acknowledged, that policy was “extra-statutory.” Tr. of Oral Argument at 88-89,
Texas (U.S.) (AA 62-63); see also Hotel & Rest. Emps. Union v. Smith, 846 F.2d 1499, 1519 (D.C. Cir. 1988) (en


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protections for a large class including the family fairness recipients, Congress made such relief

prospective only, starting one year from passage. For the interim one-year period, Congress

expressly relied on the Executive’s ongoing discretionary-relief policy. See Immigration Act of

1990, Pub. L. 101-649, § 301(g), 104 Stat. 4978, 5030.

         In 2008, Congress affirmed another ongoing class-wide discretionary-relief policy that,

since 2001, had offered deferred action to victims of human trafficking and other crimes who

lacked lawful status but were eligible for U and T visas. When Congress in 2008 authorized

administrative stays of removal for that class, it specified that denial of a stay would not “preclude

the alien from applying for . . . deferred action” under DHS’s extant policy. 8 U.S.C. § 1227(d)(2).

         Numerous other statutes have likewise presupposed the legality of deferred action and

affirmatively encouraged its use. 8 Congress has never questioned or displaced the Executive’s

discretionary power to defer enforcement action, or its authority to establish channels for the

exercise of that discretion.

         Plaintiffs are also misguided in arguing (Br. 31-32) that historical exercises of discretionary

relief were permissible only because they were interstitial to statutory legalization schemes. When

the Executive has implemented discretionary-relief policies that Congress later ratified, it was not

necessarily clear that Congress would ultimately pass legislation to protect the covered groups.

Discretionary-relief policies appear interstitial only in retrospect. And as one district court has




banc) (per curiam) (op. of Silberman, J.) (describing policy as an “extrastatutory decision to withhold enforcement”
as a matter of discretion).
         8
            See, e.g., Victims of Trafficking and Violence Prevention Act of 2000, Pub. L. 106-386,
§ 1503(d)(2)(D)(i)(II), 114 Stat.1464, 1521-22 (making two additional classes eligible for deferred action); USA
PATRIOT Act, Pub. L. 107-56, § 423(b), 115 Stat. 272, 361 (extending deferred-action eligibility to certain family
members of victims of the September 11, 2001 terrorist attacks); Real ID Act of 2005, Pub. L. No. 109-13,
§ 202(c)(2)(B)(viii), 119 Stat. 231, 313 (authorizing States to issue driver’s licenses to undocumented immigrants with
“approved deferred action status”).

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avenue for the class of persons eligible for DACA to obtain lawful status. See Regents,

279 F. Supp. 3d at 1040 (citing Arizona Dream Act Coal. v. Brewer, 855 F.3d 957, 976 n. 10 (9th

Cir. 2017), cert. denied, 138 S. Ct. 1279 (2018)). Therefore, unlike the parents covered by DAPA,

none of the “INA’s specific and intricate provisions” have “directly addressed the precise

question” of relief available to the young people eligible for DACA. See Texas, 809 F.3d at 186

(quotation marks omitted).

         Second, the Fifth Circuit focused on the sheer number of persons covered by DAPA, which

substantially exceeded the scale of any prior discretionary-relief policy. It “conclude[d] only that

the INA does not grant the Secretary discretion to grant deferred action and lawful presence on a

class-wide basis to 4.3 million otherwise removable aliens.” Texas, 809 F.3d at 186 n.202

(emphasis added). 9 DACA covers far fewer persons—and a smaller percentage of the

undocumented population—than either DAPA or the family fairness policy ratified by Congress.

Both DAPA and the family fairness policy were available to about 40 percent of the undocumented

population; only about ten percent of the undocumented population (1.2 million persons) meet

DACA’s criteria. See Texas, 809 F.3d at 174 n.138; Regents, 279 F. Supp. 3d at 1042; U.S. Br.

56-57, Texas (U.S.) (AA 52-53); Arpaio, 27 F. Supp. 3d at 192-93.

         Third, DACA is tailored to cover only a class of young people who are not at all “likely to

have backgrounds” that would warrant higher enforcement scrutiny, see Texas, 809 F.3d at 174,

and for whom there are substantial humanitarian reasons weighing against removal. Forbearing

from enforcement against law-abiding individuals brought to the United States as children—to

preserve scarce resources for removing criminals, terrorists, and others whose removal might



         9
           See also Texas, 809 F.3d at 179 (noting that “4.3 million illegal aliens” not eligible for relief under the INA
were eligible for DAPA); id. at 181 (noting the economic and political significance of a policy covering “4.3 million
otherwise removable aliens”).

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immigrants who meet certain threshold criteria into a process for DHS to make individualized

deferred-action determinations. No person has any substantive entitlement to obtain deferred

action under DACA, and the Executive retains discretion to revoke any grant of deferred action at

any time. See Texas Sav. & Cmty. Bankers Ass’n v. Federal Hous. Fin. Bd., 201 F.3d 551, 556

(5th Cir. 2000) (discretionary “guidelines” that do not impose binding “rights and obligations” on

regulated parties are not subject to notice and comment).

       Plaintiffs miss the mark in emphasizing (Br. 34-36) statements about DACA’s incidental

benefits that the amici States made in lawsuits challenging the September 2017 termination of

DACA. As amici explained in those suits, terminating DACA categorically deprived DHS officers

of the discretion to grant DACA requests and renewals, and stripped existing DACA grantees of

deferred action’s attendant benefits without any individualized assessment. (AA 165, 168-171,

192.) In contrast, the creation of DACA had no such binding, generalized qualities.

       Indeed, as the Fifth Circuit recognized, the language of the DACA Memorandum does not

bind DHS agents but “facially purports to confer discretion” to approve or deny deferred-action

requests and work authorizations. See Texas, 809 F.3d at 170 n. 126, 171 (construing same

discretion-granting language in DAPA Memorandum and noting “the express delegation of

discretion on the face of the DACA Memo”). Although DACA grantees have obtained work

authorization and other incidental benefits via the operation of longstanding DHS regulations, the

DACA Memorandum does not itself confer such benefits or vest any person with legal rights or

obligations. The memorandum simply creates a process for soliciting deferred-action requests by

defining a class of worthy applicants.

       The available evidence shows that, as implemented by DHS, the DACA policy does not

guarantee deferred action to all eligible persons. The denial rate in 2015—after excluding requests



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Court. And plaintiffs have conceded to the Supreme Court that deferred action can be offered to a

broad class of persons, at least insofar as deferred action consists of “simply forbearing from

removal.” 12

         Plaintiffs’ APA claims thus boil down to substantive and procedural challenges to the

agency actions that have extended incidental benefits—such as work authorization—to deferred-

action recipients generally. But those ancillary benefits arise out of longstanding regulations

exercising the Executive’s authority to deem all deferred-action recipients “lawfully present” for

certain purposes. 13 See 8 C.F.R. §§ 1.3(a)(4)(vi), 274a.12(c)(14). Plaintiffs are simply incorrect in

attributing any of those benefits to the DACA Memorandum (see Br. 23), which does not even

mention “lawful presence.” 14

         Accordingly, plaintiffs’ APA challenge should be rejected as an untimely collateral attack

on agency rules promulgated decades before DACA. 15 Contrary to plaintiffs’ assertions (see Br.

46-47), neither DHS’s promulgation of DACA nor DHS’s individualized grants of benefits to any

person reset the clock for nonregulated parties like plaintiffs to bring facial APA challenges to

DHS’s decades-old policies. As the Fifth Circuit has held, “an agency’s application of a rule” to a



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            “I do believe that they could do it class based if they were simply forbearing from removal. . . . [G]iven
that they are removing 400,000 people per year, we admit that they could do forbearance from removal.” Tr. of Oral
Arg. at 50, Texas (U.S.) (Scott Keller) (AA 66).
        13
           For example, the re-entry bar is tolled for deferred-action recipients because, for at least a decade prior to
the DACA Memorandum, DHS formally construed deferred action as entailing a period of authorized stay under
8 U.S.C. § 1182(a)(9)(B)(ii). Mem. from Johnny N. Williams, Exec. Assoc. Comm’r, Office of Field Operations,
Unlawful Presence 1 (June 12, 2002) (AA 10).
         14
           In contrast, the DAPA Memorandum expressly stated that recipients would be considered “lawfully present
in the United States.” Mem. from Jeh Charles Johnson, Secretary: Exercising Prosecutorial Discretion with Respect
to Certain Individuals Who Are the Parents of U.S. Citizens or Permanent Residents at 2 (Nov. 20, 2014) (“DAPA
Memorandum”) (AA 5).
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            See Dunn-McCampbell Royalty Interest, Inc. v. National Park Serv., 112 F.3d 1283, 1287 (5th Cir. 1997)
(rejecting facial challenge as untimely under APA because there was no “direct, final agency action involving the
particular plaintiff within six years of filing suit”).


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not alleged that any State other than Texas will suffer any specific financial harms 19—and as to

Texas they have failed to tie the alleged state expenses to DACA grantees, rather than

undocumented persons generally. A showing that “illegal immigration is costing [a] state money”

is not the same thing as a showing “that DACA is costing the state money.” Crane v. Johnson,

783 F.3d 244, 252 (5th Cir 2015). Moreover, to the extent the costs plaintiffs identify stem from

services provided to DACA grantees, those costs flow largely from the presence of those persons

in the plaintiff States—a fact that is likely to persist whether DACA exists or not. Indeed, DACA

enhances the economic self-sufficiency of deferred-action recipients, making them less likely to

rely on emergency medical care, Medicaid, or other public assistance. See Regents, 279 F. Supp.

3d at 1047-48. Put another way, DACA decreases many of the generalized fiscal burdens that

plaintiffs identify as injuries.

         In addition, plaintiffs cannot plausibly claim to suffer any harm resulting from many of the

other benefits received by DACA grantees. For instance, plaintiffs complain that certain DACA

grantees have received advance parole and subsequently adjusted their immigration status to

lawful permanent residency (LPR), which in turn allows them to apply for citizenship. See

Br. 25-26. But plaintiffs are not harmed by any qualifying individual’s adjustment to LPR status—

or citizenship. States suffer no cognizable injury from the presence of additional lawful permanent

residents or citizens within their borders. Similarly, the plaintiff States suffer no injury from

DACA grantees’ qualification for Social Security Numbers, the Earned Income Tax Credit,

Medicare, and federal railroad retirement benefits. See Br. 27, 31. Plaintiffs do not attempt to




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             The operative complaint states that “[o]ther States besides Texas have similar financial injuries caused by
DACA,” First Am. Compl. ¶ 236, and have suffered an “institutional injury,” id. ¶¶ 248-251, but plaintiffs do not
identify those injuries or demonstrate that they are irreparable.

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explain how these federal benefits increase their fiscal burdens or otherwise cause them any

concrete harm; nor can they, since such benefits actually decrease these burdens.

       Plaintiffs likewise cannot show any injury from executive measures that they characterize

(Br. 10) as “incentiviz[ing]” undocumented persons—including DACA grantees—to remain in the

country. That characterization rests on a mistaken assumption that DACA grantees are individuals

“who would not remain in the country” (Br. 41) but for DACA. As explained above, however,

DACA grantees are distinctly unlikely to be removed or to depart voluntarily from the United

States. See supra at 15. Plaintiffs accordingly are not injured by grants of work authorization or

other Executive actions to address the pragmatic and humanitarian concerns posed by grantees’

continued presence.

       Finally, there is no merit to plaintiffs’ argument that they possess per se standing to

challenge DACA because it is a federal policy of discretionary forbearance in a field where state

powers are preempted. See Br. 15-16 (arguing that plaintiffs possess “abdication standing”). As

the Supreme Court explained in Massachusetts v. EPA, a plaintiff challenging a federal act of

forbearance must still satisfy Article III by demonstrating cognizable harm that is traceable to the

forbearance, which plaintiffs here cannot do. See 549 U.S. 497, 521-23 (2007). And in any event,

the Supreme Court has recognized that granting deferred action is not the abdication of a duty, but

a “commendable exercise in administrative discretion.” See American-Arab Anti-Discrimination

Comm., 525 U.S. at 483-84. As the federal government has explained elsewhere, DHS lacks the

resources to remove even five percent of the undocumented population in a given year. See U.S.

Br. 4, Texas (U.S.) (AA 37). Accordingly, declining to pursue enforcement against undocumented

persons who pose little threat to the Nation’s safety and security, and who have deep ties to this

country—in order to focus limited resources on more urgent priorities—is a classic exercise of



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        To the extent plaintiffs claim an urgent need for injunctive relief due to the preliminary

injunctions issued in Regents and Batalla Vidal (see Br. 44), those injunctions do not explain why

plaintiffs failed to bring this suit for the half-decade between the announcement of DACA in 2012

and the announced rescission of DACA last year. Moreover, any argument that this Court must

now issue a preliminary injunction to avoid the consequences of other federal injunctions is an

inappropriate collateral attack on the orders of coordinate courts. See infra Point II.


C.      The Balance of the Equities and the Public Interest Favor Denying Plaintiffs’
        Requested Injunction.

        As discussed above (at 14-19), plaintiffs’ asserted harms are foreclosed by precedent, not

attributable to DACA, or wholly unsupported by record evidence. In contrast, terminating DACA

would devastate the grantees who have structured their lives around the policy, while also harming

the communities, employers, and educational institutions that have come to depend on the

contributions of those grantees.

        Whereas DAPA had yet to be implemented at the time it was challenged in Texas v. United

States, DACA has been in effect for nearly six years. During that time, nearly 800,000 grantees

have sought and received deferred action and benefits such as work authorization. Batalla Vidal,

279 F. Supp. 3d at 407. Those individuals have “come out of the shadows” and taken on important

roles in communities across the country, to the benefit of their families, employers, the institutions

with which they are associated, and the States in which they reside. See id. at 435.

        A preliminary injunction would thus injure not only hundreds of thousands of DACA

grantees, but also countless other persons and entities who have benefited from DACA. Ending

DACA would cause “approximately 1,400 DACA recipients” to “lose deferred action each work

day” and become “legally unemployable in this country.” Id. at 434. That would swiftly lead to


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“profound and irreversible economic and social implications.” Id. at 435; see also Regents, 279 F.

Supp. 3d at 1045 (discussing degree to which DACA grantees have “planned their lives according

to the dictates of DACA”).

        The amici States in particular would suffer a variety of distinct harms, as two district courts

have already concluded. See Regents, 279 F. Supp. 3d at 1046-47; Batalla Vidal, 279 F. Supp. 3d

at 434-35. The loss of work authorization by DACA grantees would deprive the amici States of

highly qualified employees, including faculty at state universities, healthcare workers, information

technology specialists, and public safety officers. (AA 73-79, 133-135, 143, 146, 208-210, 247-

250, 276-278, 337-343.) State-run educational institutions would lose students and revenue,

hindering their ability to promote critical programming. (AA 80-82, 148-152, 199-203, 216-231,

243-250, 25-267, 276-278.) And state and local governments would lose out on the hundreds of

millions of dollars in state and local taxes that DACA grantees pay each year. (AA 204-207, 320-

328.)

        Enjoining DACA would undermine other critical public interests as well. For example, it

would place “tremendous burdens on the [amici States’] public health systems” as grantees (and

the family members they support) lose their employer-sponsored health coverage. Batalla Vidal,

279 F. Supp. 3d at 434. (See also AA 232-238, 251-270.) DACA grantees who forgo medical care

for fear of being reported to immigration authorities will create public health risks. (AA 211-215,

232-234.) The U.S.-citizen children of DACA grantees may be placed into state custody and foster

care if their parents cannot remain legally in the United States, thereby burdening the amici States’

child welfare systems. (See AA 84-87, 112-116, 239-242.) Enjoining DACA would also harm

public safety because persons who are facing the threat of removal are less likely to report violence,

abuse, crimes or other harms to the community. (AA 89, 117-118, 121, 126-127, 333-336, 340-354.)



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       The individual and institutional harms flowing from an injunction against DACA would

reverberate nationwide. For example, large numbers of grantees work in the private sector,

including as entrepreneurs and members of crucial industries. (See AA 154-157, 284-290.)

Without DACA, GDP will be $460.3 billion less over the next decade, with Social Security and

Medicare tax receipts dropping $24.6 billion. (AA 158-159, 290.)

       These harms far outweigh any purported harm to the plaintiff States. Indeed, as noted above

(at 14-16), DACA helps the plaintiff States and their residents by ameliorating labor-market

distortions and other potential burdens associated with the presence in the United States of a class

of undocumented aliens who are exceptionally unlikely to leave or be removed. In sum, the balance

of the equities and the public interest weigh heavily against a preliminary injunction.

       Finally, plaintiffs are incorrect in contending (Br. 44) that DACA did not create any

cognizable reliance interests, such that this court may disregard the massive individual and societal

disruptions that would flow from enjoining DACA. A government policy or position can create

legitimate reliance interests even where the government may have the power to revoke it. See, e.g.,

FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515-16 (2009).


                                             POINT II

       THE CONFLICT BETWEEN PLAINTIFFS’ PROPOSED PRELIMINARY INJUNCTION
       AND TWO EXISTING PRELIMINARY INJUNCTIONS ALSO WARRANTS DENIAL OF
       PLAINTIFFS’ REQUESTED RELIEF

       Plaintiffs seek a preliminary injunction “that prevents the federal government from

implementing [DACA] by issuing or renewing DACA permits.” Br. 4. Such relief would

unavoidably conflict with existing preliminary injunctions issued by courts in the Northern District




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of California and the Eastern District of New York. 20 Those courts have rejected exactly the same

arguments plaintiffs press here regarding DACA’s legality. Regents, 279 F. Supp. 3d at 1037-43;

Batalla Vidal, 279 F. Supp. 3d at 425-27. And they have found that if DACA is terminated, the

plaintiffs in the suits before them—including amici States—will suffer “staggering” and

“irreversible” economic and social harms. Batalla Vidal, 279 F. Supp. 3d at 434-35; see also

Regents, 279 F. Supp. 3d at 1046-47. Accordingly, to fully protect the interests of the Regents and

Batalla Vidal state plaintiffs, those courts have entered preliminary injunctions requiring the

federal government “to maintain the DACA program on a nationwide basis . . . including allowing

DACA enrollees to renew their enrollments,” subject to limited exceptions. Regents, 279 F. Supp.

3d at 1048; see also Batalla Vidal, 279 F. Supp. 3d at 437. As those courts have observed, no

“narrower injunction” would be capable of preventing the irreparable harms “extensively

documented” by the Regents and Batalla Vidal state plaintiffs. Batalla Vidal, 279 F. Supp. 3d at

437-38; see also Regents, 279 F. Supp. 3d at 1049.

        Under these circumstances, granting plaintiffs’ requested preliminary relief would cause

confusion and violate norms of comity and sound judicial administration. District courts must

“exercise care to avoid interference with each other’s affairs.” West Gulf Maritime Ass’n v. ILA

Deep Sea Local 24, 751 F.2d 721, 728 (5th Cir. 1985). Where a district court is confronted with a

suit that is “likel[y]” to “substantially overlap” with a suit previously filed in another district court,

“considerations of comity and orderly administration of justice demand” that the second court

decline to exercise jurisdiction. Mann Mfg., Inc. v. Hortex, Inc., 439 F.2d 403, 408 (5th Cir. 1971)




        20
            See also NAACP v. Trump, 298 F. Supp. 3d 209 (D.D.C. 2018) (vacating DACA’s rescission, but staying
vacatur for 90 days).


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(quotation marks omitted). 21 These considerations control regardless of whether the overlapping

suits are “identical” in substance, id. at 408 n.6, or involve the exact same parties, Save Power,

121 F.3d at 951.

         The need to defer is especially acute where a district court is asked to issue an injunction

that would directly conflict with another court’s outstanding injunction. See West Gulf, 751 F.2d

at 728-32 (issuance of conflicting injunction is an abuse of discretion); Mann, 439 F.2d at 407-08

(same). Such injunctions transgress norms of judicial comity and perpetrate “a grave disservice to

the public interest in the orderly administration of justice.” Feller v. Brock, 802 F.2d 722, 727 (4th

Cir. 1986).

         The relief requested here would squarely conflict with the Batalla Vidal and Regents

injunctions that are now being reviewed by the federal appellate courts. 22 Those injunctions require

the federal government to accept and process requests for renewal of DACA status; plaintiffs’

requested injunction would forbid it. Indeed, plaintiffs admit that they brought this lawsuit as a

calculated attempt to collaterally attack the Batalla Vidal and Regents injunctions. First Am.

Compl. ¶ 208; see Br. 44. But even if those injunctions were wrongly issued, as plaintiffs claim,

the appellate courts reviewing the injunctions are the appropriate bodies to rectify any legal errors.

Fifth Circuit precedent strongly counsels against the entry of a conflicting injunction in these

circumstances. See West Gulf, 751 F.2d at 728-32.



         21
            See also Sutter Corp. v. P & P Indus., Inc., 125 F.3d 914, 920 (5th Cir. 1997) (failure to transfer action to
court where first-filed action was pending was an abuse of discretion); Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d
947, 952 (5th Cir. 1997) (same); cf. Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817
(1976) (noting “the general principle” of “avoid[ing] duplicative litigation . . . between federal district courts”); Mower
v. Boyer, 811 S.W.2d 560, 563 n.2 (Tex. 1991) (noting similar “general rule” for intrastate actions).
          22
             Regents, No. 18-15068 (9th Cir. Mar. 15, 2018), ECF No. 51 (AA 281) (expediting briefing); Batalla Vidal,
No. 18-485 (2d Cir. Mar. 8, 2018), ECF No. 62 (AA 68) (same); see also DHS v. Regents of Univ. of California, 138
S. Ct. 1182 (2018) (“assum[ing] that the [Ninth Circuit] will proceed expeditiously to decide the case”). Both appeals
are fully briefed. The Ninth Circuit appeal was argued and submitted on May 15, 2018.

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                                            CONCLUSION

         For all of these reasons, this Court should deny plaintiffs’ motion for a preliminary

injunction.

Dated:        New York, New York
              July 21, 2018

                                                  Respectfully submitted,

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